Case 23-12365-SLM Doc 69-3 Filed 05/25/23 Entered 05/25/23 16:34:30   Desc
                Exhibit Exhibits 1-5 to Declaration Page 1 of 52




                      EXHIBIT 1

   Pertinent pages of each of Kuraku
     Federal Income Tax Returns
             For 2018, 2019 and 2020
Case 23-12365-SLM Doc 69-3 Filed 05/25/23 Entered 05/25/23 16:34:30   Desc
                Exhibit Exhibits 1-5 to Declaration Page 2 of 52
Case 23-12365-SLM Doc 69-3 Filed 05/25/23 Entered 05/25/23 16:34:30   Desc
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Case 23-12365-SLM Doc 69-3 Filed 05/25/23 Entered 05/25/23 16:34:30   Desc
                Exhibit Exhibits 1-5 to Declaration Page 4 of 52
Case 23-12365-SLM Doc 69-3 Filed 05/25/23 Entered 05/25/23 16:34:30   Desc
                Exhibit Exhibits 1-5 to Declaration Page 5 of 52
Case 23-12365-SLM Doc 69-3 Filed 05/25/23 Entered 05/25/23 16:34:30   Desc
                Exhibit Exhibits 1-5 to Declaration Page 6 of 52
Case 23-12365-SLM Doc 69-3 Filed 05/25/23 Entered 05/25/23 16:34:30   Desc
                Exhibit Exhibits 1-5 to Declaration Page 7 of 52
Case 23-12365-SLM Doc 69-3 Filed 05/25/23 Entered 05/25/23 16:34:30   Desc
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                      EXHIBIT 2

   Minutes of the First Meeting of the
     Board of Directors of Kuraku
Case
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                      EXHIBIT 3

  Quarterly Combined Withholding,
 Wage Reporting, and Unemployment
  Insurance Return filed by Kuraku
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               Exhibit Exhibits 1-5 to Declaration Page 14 of 52
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               Exhibit Exhibits 1-5 to Declaration Page 29 of 52




                      EXHIBIT 4

  CPLR 6219 Garnishee’s Statements
signed by Yasuko and Masahiko under
       oath on August 29, 2022
Case 23-12365-SLM Doc 69-3 Filed 05/25/23 Entered 05/25/23 16:34:30   Desc
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                      EXHIBIT 5

                 The Decisions of the
  United States District Court for the
    Southern District of New York
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X             12/19/2022
                                                                       :
ORNRAT KEAWSRI, et al.,                                                :
                                                                       :
                                    Plaintiffs,                        :
                  -v-                                                  :    17-cv-02406 (LJL)
                                                                       :
RAMEN-YA INC. et al,                                                   :   MEMORANDUM AND
                                                                       :       ORDER
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X
LEWIS J. LIMAN, United States District Judge:

         Judgment Creditors1 move, pursuant to Federal Rule of Civil Procedure 69 and New

York Civil Practice Law and Rules (“CPLR”) 5225(a) and (c), for an order (1) compelling

Defendant Yasuko Negita (“Yasuko”) to immediately pay Judgment Creditors, in a certified

check made payable to Florence Rostami Law LLC, the funds in the investment account Yasuko

owns at Merrill Lynch, Pierce, Fenner & Smith, a Bank of America Company (“Merrill”), with

the account number ending 3453; (2) compelling Defendant Masahiko Negita (“Masahiko”) to

immediately pay Judgment Creditors, in a certified check made payable to Florence Rostami

Law LLC, the funds in the investment account Masahiko owns at Merrill with the account

number ending 3454; and (3) compelling Yasuko to transfer (and to execute and deliver any

document necessary to effect such transfer) the real property she owns located at 309

Knickerbocker Road, Tenafly, New Jersey 07670 to the Marshal of the United States District

Court for the District of New Jersey (the “Marshal”) for sale by the Marshal, the proceeds of

such sale to be applied toward payment of the judgment. Dkt. No. 583. Judgment Creditors also


1
 The Judgment Creditors are Ornrat Keawsri, Sachina Nagae, Takayuki Sekiya, Siwapon Topon,
Pimparat Ketchatrot, Thiratham Raksuk, Parichat Kongtuk, Tanon Leechot, Thanatharn
Kulaptip, Wanwise Nakwirot, Natcha Natatpisit, and Parada Mongkolkajit.
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move for an order, pursuant to Federal Rule of Civil Procedure 69 and CPLR 5234, (1) granting

Judgment Creditors priority over other creditors over the property of Judgment Debtors,2

including the investment account of Yasuko and Masahiko until the judgment is satisfied; and (2)

compelling Yasuko and Masahiko to pay the remaining balance of the judgment forthwith to the

extent that the funds in the Merrill accounts are insufficient to satisfy the judgment. Id. The

Court heard argument from both parties on this motion at a conference held on December 19,

2022.

         Familiarity with the prior proceedings in this case is assumed. On August 8, 2022, the

Court awarded Judgment Creditors $687,825.81 in damages and penalties and $1,110,807.82 in

attorneys’ fees and costs and post-judgment interest against Judgment Debtors jointly and

severally. Dkt. No. 512. Judgment for this amount was entered by the Clerk of Court on August

10, 2022. Dkt. No. 514. To date, Judgment Debtors have not paid any portion of the Judgment.

Dkt. No. 584 ¶ 7; Dkt. No. 607 ¶ 4.

         “As a general rule, once a federal court has entered judgment, it has ancillary jurisdiction

over subsequent proceedings necessary to ‘vindicate its authority, and effectuate its decrees.’”

Dulce v. Dulce, 233 F.3d 143, 146 (2d Cir. 2000) (quoting Peacock v. Thomas, 516 U.S. 349,

354 (1996)). “This includes proceedings to enforce the judgment.” Id.; see Jones v. Milk River

Café, LLC, 2022 WL 3300027, at *3 (E.D.N.Y. Aug. 11, 2022); VFS Fin., Inc. v. Elias-Savion-

Fox LLC, 73 F. Supp. 3d 329, 335 (S.D.N.Y. 2014). Under Federal Rule of Civil Procedure 69,

state law generally supplies the procedures for enforcement of the judgment. The Rule provides:

“The procedure on execution—and in proceedings supplementary to and in aid of judgment or

execution—must accord with the procedure of the state where the court is located . . . .” Fed. R.



2
    The Judgment Debtors are Ramen-Ya Inc. (“RYI”), Yasuko, Masahiko, and Miho Maki.


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Civ P. 69(a)(1).

         CPLR 5225(a) provides in pertinent part:

         Upon motion of the judgment creditor, upon notice to the judgment debtor, where
         it is shown that the judgment debtor is in possession or custody of money or other
         personal property in which he has an interest, the court shall order that the
         judgment debtor pay the money, or so much of it as is sufficient to satisfy the
         judgment, to the judgment creditor and, if the amount to be so paid is insufficient
         to satisfy the judgment, to deliver any other personal property, or so much of it as
         is of sufficient value to satisfy the judgment, to a designated sheriff.

CPLR 5225(c) provides that “[t]he court may order any person to execute and deliver any

document necessary to effect payment or delivery.”

         Judgment Creditors have submitted evidence that Yasuko maintains an investment

account at Merrill with the account number ending in 3453, that Masahiko maintains an

investment account at Merrill with an account number ending in 3454, and that they collectively

hold cash and other assets with a value of $218,000. Dkt. No. 584 ¶ 8; Dkt. No. 602-1. The

Court has authority under CPLR 5225(a) to order Yasuko and Masahiko to turn over the funds in

those accounts to Judgment Creditors.

         That the Merrill accounts were opened in New Jersey does not change this conclusion.3

“[A]s long as the New York court has personal jurisdiction over a defendant, regardless of

whether it is the judgment debtor himself, or the garnishee bank, the court may order it to turn

over out-of-state property to a judgment creditor.” McCarthy v. Wachovia Bank, N.A., 759 F.

Supp. 2d 265, 275 (E.D.N.Y. 2011); see also Koehler v. Bank of Bermuda Ltd., 911 N.E.2d 825,

830 (N.Y. 2009).

         Judgment Debtors argue that CPLR 5205(c)(2) protects them from having to turn over



3
 Originally, it was represented to the Court that the investment accounts were opened in New
York County. Dkt. No. 584 ¶ 8. However, the Court was informed at the conference on
December 19, 2022 that the accounts were actually opened in New Jersey.

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assets in their retirement accounts. Dkt. No. 604 at 2.4 That provision shields certain retirement

accounts from turnover or garnishment by creditors. C.P.L.R. 5205(c)(2); see Bellco Drug Corp.

v. Bear Stearns & Co., Inc. 1999 WL 399903, at *2 (N.Y. Cty Court Nassau Cty Apr. 12, 1999)

(holding that all trusts, custodial accounts, monies, assets or interests qualified as individual

retirement accounts under Section 408 of the Internal Revenue Code are exempt from attachment

to enforce a money judgment). However, it does not apply here. CPLR 5205 goes on to state

that “[a]dditions to an asset described in paragraph two of this subdivision shall not be exempt

from application to the satisfaction of a money judgment if (i) made after the date that is ninety

days before interposition of the claim on which such judgment was entered, or (ii) deemed to be

voidable transactions under article ten of the debtor and creditor law.” C.P.L.R. 5205(c)(5); see

VFS Fin., Inc. v. Elias-Savion-Fox LLC, 73 F. Supp. 3d 329, 348 (S.D.N.Y. 2014) (“Under the

anti-garnishment statute, ‘any contributions to [the debtor’s SRA/IRA] account made after the

date that is 90 days before the interposition of the claim on which the judgment herein was

entered are not exempt from execution.’” (quoting Bellco, 1999 WL 399903, at *2)).

         This case was filed on April 3, 2017. Notwithstanding Judgment Creditors’ subpoena

requiring Judgment Debtors to produce all account statements for accounts in which they had

any legal or equitable interest from January 1, 2014 forward, Dkt No. 577-1, Judgment Debtors

have not submitted any evidence that the funds in the two accounts were deposited prior to the

date that is 90 days before April 3, 2017. Therefore, the exemption does not apply, and

Judgment Debtors are required to, and will be ordered to, turn over the funds in the accounts.5



4
  Judgment Debtors refer to CPLR 5405(c)(2). That provision has to do with the fees payable
when a foreign judgment is filed in New York courts. The Court assumes that the reference to
CPLR 5405(c)(2) is the product of a typographical error.
5
  At the conference held on December 19, 2022, Judgment Debtors stated for the first time that
they have evidence that certain funds in these accounts were deposited prior to the date that is 90


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       Judgment Creditors also ask for an order pursuant to CPLR 5225(a) compelling Yasuko

to transfer (and to execute and deliver any document necessary to effect such transfer) the real

property she owns located at 309 Knickerbocker Road, Tenafly, New Jersey 07670 to the

Marshal of the United States District Court for the District of New Jersey (the “Marshal”) for

sale by the Marshal, the proceeds of such sale to be applied toward payment of the judgment.

Dkt. No. 583. Judgment Debtors argue that the Court does not have jurisdiction over the

property located in New Jersey, Judgment Creditors should seek relief from the United States

District Court for the District of New Jersey where Judgment Creditors have domesticated the

judgment, and Plaintiff do not advance any arguments over how they would have priority over

the real property “especially since there are at least two banks who are primary creditors and

have liens and mortgages on that real property.” Dkt. No. 604 at 1. They also argue that New

Jersey may have a homestead exemption. Id. Judgment Creditors respond that the Court has

ancillary jurisdiction to enforce the judgment, that Yasuko has no basis to assert the rights of

other lienholders who can assert their rights as appropriate, and that because the Court has

personal jurisdiction over the Judgment Debtors it also has jurisdiction to order them to turn over

property (real or personal) outside of the District (and outside the State). Dkt. No. 608 at 5-6.

       The basis for the order that Plaintiffs seek, i.e., CPLR 5225(a), only applies to a judgment

debtors’ “possession or custody of money or other personal property in which he has an



days before April 3, 2017. No such evidence was offered in connection with Judgment Debtors’
opposition to this motion, which was filed approximately 20 days after Judgment Creditors filed
their motion. Nor was any such evidence provided in connection with Judgment Creditors’
subpoena which was originally returnable in August 2022. Dkt. No. 577-1. The Court makes
this decision on the basis of the evidence and the record before it. To the extent that Judgment
Debtors have new evidence, the proper vehicle within which to raise such evidence is in a
motion for reconsideration, assuming that such motion satisfies the appropriate standards. It is
not to reopen this motion or to require Judgment Creditors to respond to proffers offered on the
fly during oral argument.


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interest.” C.P.L.R. 5225(a) (emphasis added). In other words, it can only be used to force a

turnover of money and personal property of the Judgment Debtor. Here, however, Judgment

Creditors are seeking a turnover order of Yasuko’s real property and the deed to that real

property, which are not subject to turnover by this statutory provision. See DeFlora Lake

Development Assocs., Inc. v. Hyde Park, 689 F. App’x 93 (2d Cir. 2017) (“The disposition of

real property is not subject to turnover order under CPLR § 5225”); Bernard v. Lombardo, 2016

WL 7377240, at * 2; Gryphon Domestic VI, LLC v. APP Int'l Fin. Co., B.V., 836 N.Y.S.2d 4, 12

(1st Dep’t 2007) (holding that real property was not subject to turnover order under CPLR

5225(a)).

       Plaintiffs acknowledge that the “authority conferred to New York courts under CPLR

5225 is, by its terms, directed toward personal property,” but note that the “Court can, in the

circumstances of this matter, issue orders in aid of Judgment Creditors’ rights to turnover of

property held in other jurisdictions.” Dkt. No. 608 at 6. Plaintiffs appear to point to CPLR 5240

as authority for this proposition. Id. This argument is unavailing. “‘CPLR 5240 permits a court

at any time, on its own initiative or the motion of any interested person’ to issue an order

denying, limiting, conditioning, regulating, extending or modifying the use of any enforcement

procedure’—and therefore grants the court substantial authority to order equitable relief.”

Anderson Kill P.C. v. Anderson Kill P.C. as Escrowee, 17 N.Y.S.3d 381 (N.Y. Sup. Ct.), aff’d

sub nom. Anderson Kill, P.C. v. Anderson Kill, P.C., 134 A.D.3d 552, 22 N.Y.S.3d 20 (2015).

However, the plain purpose of CPLR 5240 is “to prevent the brutal use of legal procedures

against a judgment debtor.” Midlantic Nat. Bank/N. v. Reif, 732 F. Supp. 354, 356 (E.D.N.Y.

1990); see Plymouth Venture Partners, II, L.P. v. GTR Source, LLC, 183 N.E.3d 1185, 1193

(N.Y. 2021). In other words, “[i]ts use is strictly to aid a party inequitably burdened by the use




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of enforcement procedures by his adversary and to allow him an opportunity to either meet his

legal obligation or postpone the enforcement of a judgment until such time that its enforcement

is more properly sought.” Reif, 732 F. Supp. 354, 356–57 (quoting Kolortron Sys., Inc. v. Casey,

688, 500 N.Y.S.2d 36, 36 (2d Dep’t 1986)); see also KLS Diversified Master Fund, LP. v.

McDevitt, 2022 WL 220058, at *5 (S.D.N.Y. Jan. 25, 2022). In light of this purpose of the

statute, this Court declines to use CPLR 5240 to allow the Judgment Creditors to bypass the clear

language of CPLR 5225(a) and obtain a turnover order regarding the New Jersey property. See

Adler v. Solar Power, Inc., 2018 WL 11447340, at *2 (S.D.N.Y. Apr. 9, 2018) (“New York

courts have recognized that concerns of comity and sovereignty render attachment of real

property located outside of the state inappropriate at the very least.”).

       Thus, Plaintiffs’ request for a turnover order of Yasuko’s property in New Jersey

pursuant to CPLR 5225(a) or CPLR 5240 is denied, without prejudice to Plaintiffs providing a

different, valid basis for such an order.

       With respect to the requested order under CPLR 5234, the motion of Judgment Creditors

for an order compelling Yasuko and Masahiko to pay the remaining balance of the judgment

forthwith to the extent that the funds in the Merrill accounts are insufficient to satisfy the

judgment is denied. “[A] judgment creditor seeking a turnover order must identify the particular

property as to which it seeks a turnover, whether a specific bank account, account receivable, or

office furniture.” Bernardo v. Lombardo, 2016 WL 7377240, at *2 (S.D.N.Y. Nov. 23, 2016)

(internal citations and quotations omitted). See also Mattel, Inc. v. www.fisher-price.online, 2022

WL 2801022, at *14 (S.D.N.Y. July 18, 2022) (“Courts in this District have denied plaintiffs’

section 5225 motions without prejudice when plaintiffs fail to identify the particular property as

to which they seek a turnover.”).




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       Judgment Creditors argued at the December 19, 2022 conference that they should be

excused from the requirement that they identify the particular property as to which they seek a

turnover as Judgment Debtors have not been forthcoming about the nature and extent of their

U.S. property and assets. However, where a judgment debtor is not forthcoming about his or her

assets in response to subpoenas and document requests, the proper remedy is a motion for

contempt sanctions for failure to comply with court orders regarding postjudgment discovery,

including for criminal contempt if the standards for such relief are met. It is not, in the first

instance, a blanket order requiring the judgment debtor to turn over all of his or her assets

without identifying those assets.

       Finally, the motion of Judgment Creditors under CPLR 5234 for an order granting

Judgment Creditors priority over other creditors over the property of Judgment Debtors is denied

as not ripe for consideration. Judgment Creditors have not, at this point, identified any particular

creditor who has claimed priority to any of Judgment Debtors’ property. Judgment Debtors

represented at argument that there is no competing turnover order with respect to the investment

accounts. Judgment Creditors may reapply for such relief in the event that this issue later

becomes ripe.

                                          CONCLUSION

       The motion to enforce the judgment is GRANTED IN PART and DENIED IN PART.

The Clerk of Court is respectfully directed to close Dkt. No. 583.


       SO ORDERED.


Dated: December 19, 2022                               __________________________________
       New York, New York                                        LEWIS J. LIMAN
                                                             United States District Judge




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X               1/24/2023
                                                                       :
ORNRAT KEAWSRI, et al.,                                                :
                                                                       :
                                    Plaintiffs,                        :
                                                                       :    17-cv-02406 (LJL)
                  -v-                                                  :
                                                                       :   MEMORANDUM AND
RAMEN-YA INC. et al,                                                   :       ORDER
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X
LEWIS J. LIMAN, United States District Judge:

         The RYI Defendants,1 as Judgment Debtors, move for reconsideration of this Court’s

order of December 19, 2022, ordering Yasuko and Masahiko Negita to turn over funds in Merrill

accounts ending in 3453 and 3454 (together, “Merrill Accounts” and, each individually, “Merrill

Account”). The RYI Defendants argue, based on purportedly newly-discovered evidence, that

all but $11,451.26 in the account ending 3454 is exempt under C.P.L.R. § 5205(c)(2) and all but

$12,932.19 in the account ending 3455 is exempt under that same provision of the C.P.L.R. Dkt.

No. 627. For the reasons that follow, the motion is denied.

                                               BACKGROUND

         Familiarity with the prior proceedings in this matter and the Court’s prior opinions and

orders are assumed. Plaintiffs and Judgment Creditors brought this action under the Fair Labor

Standards Act (“FLSA”) and New York Labor Law (“NYLL”) against the RYI Defendants,




1
 The RYI Defendants are Yasuko Negita (“Yasuko”), Masahiko Negita (“Masahiko”), Miho
Maki (“Maki”), and Ramen-Ya Inc. RYI Defendants have occasionally been referred to as the
RYI Judgment Debtors and Plaintiffs occasionally have been referred to as the Judgment
Creditors. For convenience, the Court refers to “RYI Defendants” and to “Plaintiffs” in this
Memorandum and Order.
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Y&S International Corporation (“Y&S”), Kenji Kora (“Kora”), and others. Dkt. No. 182. On

August 8, 2022, the Court awarded Plaintiffs $687,825.81 in damages and penalties,

$1,110,807.82 in attorneys’ fees and costs, as well as post-judgment interest, and held that the

RYI Defendants as well as Y&S and Kora are jointly and severally liable for all amounts due.

Dkt. No. 512. The clerk entered judgment in that amount on August 10, 2022. Dkt. No. 514 ¶ 8.

        Since then, Plaintiffs have sought to collect from the RYI Defendants, as well as Y&S

and Kora. On August 15, 2022, Plaintiffs served on each of the RYI Defendants a subpoena

duces tecum and subpoena ad testificandum compelling their attendance and requiring them to

produce certain documents related to the nature, extent, and location of their assets. Dkt. No.

577 ¶ 6. The subpoenas served on Yasuko, Negita, and Maki requested, among other things,

financial account information, both for accounts held in the United States and in any foreign

country. Id. ¶ 7.

        After the subpoenas were served, RYI Defendants sought various deadline extensions for

the production of documents as well as for the depositions of the RYI Defendants. Id. ¶¶ 8–11.

On August 25, 2022, the Court ordered the RYI Defendants to deliver to counsel for Plaintiffs

“all documents identified in the subpoena duces tecum and subpoena ad testificandum served on

each of the RYI Defendants.” Dkt. No. 523. On August 25, 2022, Plaintiffs agreed to extend the

deadline for RYI Defendants to produce all responsive documents until August 29, 2022. Dkt.

No. 577 ¶ 12. On August 29, 2022, the RYI Defendants failed to produce responsive documents

and instead asserted various objections to each category of documents set forth in the subpoenas.

Id. ¶ 15.

        Due to the RYI Defendants’ refusal to produce responsive documents, Plaintiffs filed a

motion on August 31, 2022 requesting an order (i) finding the RYI Defendants in contempt of




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court, (ii) compelling the RYI Defendants to produce all documents and information sought by

Plaintiffs, and (iii) imposing sanctions against each of the RYI Defendants and their respective

counsel for their contempt of court, among other relief. Dkt. No. 530. The Court held a

conference on September 27, 2022, regarding that request. Dkt. No. 560. At that conference, the

Court granted Plaintiffs’ motion in part and denied it in part. The Court found that “Plaintiffs

have established by clear and convincing evidence that each of the Defendants have violated the

Court’s rulings through Defendants’ refusal to produce documents and information sought by

Plaintiffs.” Id. at 1–2. The Court therefore imposed sanctions on RYI Defendants to compel

compliance. Id. at 2.

       Plaintiffs made their motion to enforce the judgment and for turnover on November 18,

2022, asking for the turnover of funds in the Merrill Accounts. Dkt. No. 583. In their

declaration in support of that motion, Plaintiffs offered evidence that Yasuko owned the Merrill

Account ending in 3453 and Masahiko owned the Merrill Account ending in 3454. Dkt. No.

584. At a conference with the Court on November 23, 2022, counsel for Plaintiffs foreshadowed

the issue that is now raised on this motion. During colloquy with the Court on the status of the

RYI Defendants’ compliance with the Court’s orders and the schedule with respect to the motion

to enforce the judgment and for turnover, Plaintiffs’ counsel stated that the RYI Defendants had

the “responsibility to produce documents with respect to the moneys that were deposited into the

[Merrill] account because they may have the right to withhold some of those moneys pursuant to

the rules” and noted that the RYI Defendants had not done so. Dkt. No. 619 at 59. She stated:

“I’m just letting them know, they need to provide the specifics with respect to the account.” Id.

The Court responded: “Why isn’t the appropriate procedure for them, in their opposition papers,

to indicate the amounts that need to be withheld under New York State law … [and] [i]f they




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don’t indicate amounts that need to be withheld, then they would be considered [to have] waived

that issue.” Id. at 59–60. The Court asked counsel for the RYI Defendants whether he objected

to proceeding in that manner and he responded that he did not. Id. at 60. The Court then gave

the RYI Defendants the time they requested to respond to Plaintiffs’ motion. Id.

        On December 8, 2022, the RYI Defendants submitted their response to the motion. Dkt.

No. 604. The response argued broadly (and incorrectly) that C.P.L.R. § 5205(c)(2) shielded

retirement accounts from turnover and any monies in the Merrill Accounts should be withheld in

full. Id. In their reply memorandum dated December 15, 2022, Plaintiffs correctly pointed out

that C.P.L.R. § 5205(c) does not protect funds in retirement accounts if deposited after the date

that is ninety days before the commencement of a lawsuit. Dkt. No. 608 at 3. Plaintiffs also

argued that the RYI Defendants had failed to produce evidence that the Merrill Accounts were

opened prior to January 3, 2017 (i.e., 90 days prior to the commencement of their lawsuit), or

that deposits were made into the accounts prior to that date, such that monies in the accounts

would be exempt. Dkt. No. 608 at 4. By order of December 16, 2022, the Court set a hearing

for December 19, 2022 on the motion to enforce the judgment and for turnover and directed that

the parties be prepared to present any evidence that they wished the Court to consider on that

motion. Dkt. No. 609. RYI Defendants did not submit any evidence at the hearing on December

19, 2022, but they argued that monies in the accounts had been deposited prior to January 3,

2017 and were therefore exempt.

       The Court’s order of December 19, 2022 granted Plaintiffs’ motion, pursuant to C.P.L.R,

§ 5225(a), to compel Yasuko to immediately pay Plaintiffs the funds in the Merrill Account

ending 3453 and Masahiko to immediately pay Plaintiffs the funds in the Merrill Account ending

3454. Dkt. No. 616 at 4. The Court rejected the RYI Defendants’ argument that C.P.L.R.




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§ 5205(c)(2) shielded the assets in the Merrill Accounts from being turned over to satisfy the

judgment. Id. at 3–4. The Court noted that while that provision shields retirement accounts from

turnover or garnishment by creditors, it does not apply to additions to a retirement account made

after the date that is ninety days before interposition of the claim on which judgment was

entered. Id. That date here would have been January 3, 2017 because Plaintiffs’ complaint was

filed on April 3, 2017. The Court wrote:

        Notwithstanding Judgment Creditors’ subpoena requiring Judgment Debtors to
        produce all account statements for accounts in which they had any legal or equitable
        interest from January 1, 2014 forward, Dkt. No. 577-1, Judgment Debtors have not
        submitted any evidence that the funds in the two accounts were deposited prior to
        the date that is 90 days before April 3, 2017. Therefore, the exemption does not
        apply, and Judgment Debtors are required to, and will be order to, turn over the
        funds in the accounts.

Id. at 4. In a footnote to its Memorandum and Order, the Court noted:

        At the conference held on December 19, 2022, Judgment Debtors stated for the first
        time that they have evidence that certain funds in these accounts were deposited
        prior to the date that is 90 days before April 3, 2017. No such evidence was offered
        in connection with Judgment Debtors’ opposition to this motion, which was filed
        approximately 20 days after Judgment Creditors filed their motion. Nor was any
        such evidence provided in connection with Judgment Creditors’ subpoena which
        was originally returnable in August 2022. Dkt. No. 577-1. The Court makes this
        decision on the basis of the evidence and the record before it. To the extent that
        Judgment Debtors have new evidence, the proper vehicle within which to raise such
        evidence is in a motion for reconsideration, assuming that such motion satisfies the
        appropriate standards. It is not to reopen this motion or to require Judgment
        Creditors to respond to proffers offered on the fly during oral argument.

Id. at 4 n.5.

                                           DISCUSSION

        The RYI Defendants argue that the Court should reconsider its December 19, 2022 order

“because newly submitted evidence clearly demonstrates that majority [sic] of the funds in the

Merrill accounts were deposited prior to January 3, 2017.” Dkt. No. 627 at 2. In support of that

motion, they submit bank statements that show that Masahiko made deposits totaling $11,451.26



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to the account ending 3454 since 2017 and Yasuko made deposits to the account ending in 3452

totaling $12,932.19 since 2017. Id. They claim only $14,000 ($7,000 each) was deposited after

January 3, 2017. Id. The RYI Defendants do not object to the turnover of the $14,000 but argue

that the remainder of the funds in the accounts are exempt. Id. at 4. Plaintiffs respond that

reconsideration is not appropriate because the RYI Defendants do not identify any newly

discovered facts that they could not have located without reasonable diligence: Yasuko and

Masahiko were aware months before the motion for turnover that the account statements were

relevant to the identification of assets when those account statements were subpoenaed on

August 15, 2022, yet in response to those subpoenas they produced only one page of their

respective Merrill Accounts for the April to June 2022 time period. Dkt. No. 628 at 5. Plaintiffs

also argue that the December 19, 2022 order should not be reconsidered on grounds of “manifest

injustice”; that basis for relief is not available when the motion is based on newly-discovered

evidence and there is no manifest injustice in requiring the RYI Defendants to turn over funds in

the Merrill Accounts that they earned from their violations of FLSA and the NYLL, particularly

when they could have asserted evidence to support the exemption far earlier and in response to

Plaintiffs’ motion but failed to do so. Id. at 9–11.

       The RYI Defendants style their motion as one for reconsideration. “A motion for

reconsideration should be granted only if the movant identifies ‘an intervening change of

controlling law, the availability of new evidence, or the need to correct a clear error or prevent

manifest injustice.’” Spin Master Ltd. v. 158, 2020 WL 5350541, at *1 (S.D.N.Y. Sept. 4, 2020)

(quoting Kolel Beth Yechiel Mechil of Tartikov, Inc. v. YLL Irrevocable Tr., 729 F.3d 99, 104 (2d

Cir. 2013)). Reconsideration of a court’s previous order is an “extraordinary remedy to be

employed sparingly in the interests of finality and conservation of scarce judicial resources.” In




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re Health Mgmt. Sys., Inc. Sec. Litig., 113 F. Supp. 2d 613, 614 (S.D.N.Y. 2000). The standard

for granting a motion for reconsideration “is strict, and reconsideration will generally be denied

unless the moving party can point to controlling decisions or data that the court overlooked—

matters, in other words, that might reasonably be expected to alter the conclusion reached by the

Court.” Shrader v. CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir. 1995). A motion for

reconsideration is not a “vehicle for relitigating old issues, presenting the case under new

theories, securing a rehearing on the merits, or otherwise taking a second bite at the apple.” Spin

Master, 2020 WL 5350541, at *1 (quoting Analytical Surveys, Inc. v. Tonga Partners, L.P., 684

F.3d 36, 52 (2d Cir. 2012)).

         In opposition, Plaintiffs make reference to the standards for relief under Federal Rule of

Civil Procedure 60(b). The rule addresses the standards and procedures for the court to relieve a

party “from a final judgment, order, or proceeding.” Fed. R. Civ. P. 60(b). Federal Rule of Civil

Procedure 60(b)(2) provides that within a year of the entry of the judgment or order or the date of

the proceeding, a party may move for relief based on “newly discovered evidence that, with

reasonable diligence, could not have been discovered in time to move for a new trial under Rule

59(b).” Fed. R. Civ. P. 60(b)(2). The Second Circuit has repeatedly held that:

         To prevail on a motion for relief from a judgment on the grounds of newly
         discovered evidence, a party must establish that: “(1) the newly discovered
         evidence was of facts that existed at the time of trial or other dispositive proceeding,
         (2) the movant must have been justifiably ignorant of them despite due diligence,
         (3) the evidence must be admissible and of such importance that it probably would
         have changed the outcome, and (4) the evidence must not be merely cumulative or
         impeaching.”

Metzler Inv. Gmbh v. Chipotle Mexican Grill, Inc., 970 F.3d 133, 146–47 (2d Cir. 2020) (quoting

United States v. Int’l Bhd. of Teamsters, 247 F.3d 370, 392 (2d Cir. 2001)).2


2
  Federal Rule of Civil Procedure 60(b)(6) also provides that the court may relieve a party of a
final order, at any time, for “any other reason that justifies relief.” Fed. R. Civ. P. 60(b)(6).


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       In the case at hand, the RYI Defendants have not shown “new evidence” or “manifest

injustice” justifying reconsideration of this Court’s December 19 order or relief under Rule

60(b)(2). The RYI Defendants’ motion is based on the contention that the majority of the funds

in the Merrill Accounts were deposited prior to January 3, 2017. But that information was

available to the RYI Defendants at the time that they filed their opposition to the motion to

enforce the judgment and for turnover. It is based on deposits made by Yasuko and Masahiko

themselves. There is no reason, and the RYI Defendants offer none, why, if they believed that

the funds were exempt, they could not have submitted an affidavit or a declaration in connection

with their opposition, explaining that the funds were exempt. Nor were the account statements

new evidence that was not previously available to the RYI Defendants before the Court entered

its order. The account statements were requested by Plaintiffs as early as August 2022. They

were the subject of an order to produce dated August 25, 2022, with a deadline of August 29,



“Rule 60(b)(6) [is] a catch-all provision that ‘is properly invoked only when there are
extraordinary circumstances justifying relief, when the judgment may work an extreme and
undue hardship, and when the asserted grounds for relief are not recognized in clauses (1)–(5) of
the Rule.’” Pastor v. P’ship for Children’s Rts., 856 F. App’x 343, 344–45 (2d Cir. 2021)
(quoting Metzler Inv. GmbH v. Chipotle Mexican Grill, Inc., 970 F.3d 133, 143 (2d Cir. 2020));
see Obra Pia Ltd. v. Seagrape Invs. LLC, 2021 WL 1978545, at *2 (S.D.N.Y. May 18, 2021)
(same). In other words, “if the reasons offered for relief from judgment can be considered in one
of the more specific clauses of Rule 60(b), such reasons will not justify relief under Rule
60(b)(6).” Castro v. Bank of New York Mellon, 852 F. App’x 25, 30 (2d Cir. 2021) (quoting Int’l
Brotherhood of Teamsters, 247 F.3d at 391–92). “The burden of proof on a Rule 60(b) motion is
on the party seeking relief from the earlier judgment or order.” Obra Pia Ltd., 2021 WL
1978545, at *2 (quoting In re Gildan Activewear, Inc. Sec. Litig., 2009 WL 4544287, at *2
(S.D.N.Y. Dec. 4, 2009)).

Here, Federal Rule of Civil Procedure 60(b)(6) does not apply because “[a]lthough [the RYI
Defendants] failed to carry [their] burden under” Rule 60(b)(2), as explained supra pp. 8–9, their
“reasons for seeking relief from the judgment fell within” that more specific clause “thereby
disqualifying [them] from obtaining relief under Rule 60(b)(6).” Castro, 852 F. App’x at 30 .
The RYI Defendants also did not invoke this catch-all provision in their motion papers or explain
why it would apply and thus separately have not met their burden. See Obra Pia Ltd., 2021 WL
1978545, at *2 (noting burden is on person moving for Rule 60(b) relief).


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2022. The RYI Defendants were held in contempt in September 2022 for failure to produce the

account statements with additional sanctions running each day in which they were not produced,

Dkt. No. 560, the Court gave the RYI Defendants notice in late November 2022 of the need to

submit specific information to the Court justifying any withholdings under New York State law

as to the Merrill Accounts and then gave them the time they needed to submit their opposition to

the motion, Dkt. No. 619 at 59–60, and the Court directed the RYI Defendants on December 16,

2022 to bring to Court any evidence they intended to rely upon in opposition to the motion, Dkt.

No. 609. The RYI Defendants failed to produce the account statements in response to any of

these requests or demands. To the contrary, it was not until December 19, 2022—months after

the RYI Defendants had been ordered to produce the account statements—that the RYI

Defendants even requested the account statements from their representative at Merrill. Dkt. No.

629-2 at 5. And then the account representative was able to readily and quickly produce the

account statements.

         The account statements thus are not newly discovered evidence or new evidence. They

are evidence that the RYI Defendants always had available to them with the sending of an email.

They simply decided not to request them in response to Plaintiffs’ subpoenas and the Court’s

prior orders. To grant the motion to reconsider now, on the basis of the account statements,

would be to reward the RYI Defendants for their own intransigence. A party may not obtain

relief based upon evidence that it could have offered earlier but, either through negligence or

deliberate sandbagging, chose not to offer. To do so neither satisfies Local Rule 6.3 nor Rule

60(b).




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         Because the RYI Defendants’ request for relief fails regardless, the Court does not decide

whether Local Rule 6.3 (for motions for reconsideration or reargument) or Federal Rule of Civil

Procedure 60(b) applies.3

                                          CONCLUSION

         The motion for reconsideration is DENIED.

         The Clerk of Court is respectfully directed to close Dkt. No. 627.



         SO ORDERED.


Dated: January 24, 2023                             __________________________________
       New York, New York                                     LEWIS J. LIMAN
                                                          United States District Judge




3
  Rule 60(b) does not apply to interlocutory orders. See Fed. R. Civ. P. 60(b), advisory
committee notes to 1946 amendment (“The addition of the qualifying word ‘final’ emphasizes
the character of the judgments, orders or proceedings from which Rule 60(b) affords relief, and
hence interlocutory orders are not brought within the restrictions of the rule, but rather they are
left subject to the complete power of the court rendering them to afford relief from them as
justice requires.”); see also Stern v. Highland Lake Homeowners, 2021 WL 1164718, at *4
(S.D.N.Y. Mar. 26, 2021) (Rule 60(b) not applicable to preliminary injunctions which are not
final judgments or orders); Bridgeforth v. Mckeon, 2012 WL 3962378, at *2 (W.D.N.Y. Sept. 10,
2012) (Rule 60(b) not applicable to interlocutory order).


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